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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: MOVEIT CUSTOMER DATA
 SECURITY BREACH LITIGATION
 This Document Relates To:                            MDL No. 1:23-md-03083-ADB-PGL

 All Cases


                TINA WOLFSON’S LEADERSHIP STRUCTURE PROPOSAL

       Tina Wolfson of Ahdoot & Wolfson is applying to be appointed as head lead counsel and

proposes the following leadership structure: (i) 3 head lead counsel (“HLC”) or 2 HLC plus liaison;

(ii) a Discovery Committee: HLC plus 2 firms; (iii) a Briefing Committee: HLC plus 2 firm; (iv)

State Liaison; and (v) Defendant-specific lead counsel (“DLC”): HLC to select and/or propose to

Court one week after appointment of lead counsel. This structure focuses on the efficiencies that

the JPML recognized when consolidating these cases, addresses the complexities inherent in

litigation involving 2,200 domestic entities across various industries, avoids layers of bureaucracy,

and empowers the plaintiffs interested in only discreet pieces of this litigation to be represented by

counsel of their choice.

      I.        3 Head Lead Counsel (“HLC”) or 2 HLC Plus Liaison

       As set forth in Ms. Wolfson’s application, the Court should appoint her as one of the two

or three HLC, who should have the following responsibilities:

             a. Direct and manage pretrial proceedings; meet and confer with defense counsel to
                streamline proceedings and minimize the burden on the Court; prepare for and
                attend regular case management conferences and substantive hearings;
             b. Issue uniform billing protocol, allocate work to other Plaintiffs’ counsel, monitor
                the activities of all Plaintiffs’ counsel to ensure that pretrial preparation is
                conducted effectively, efficiently, and economically and that all schedules are
                met, perform periodic audit of all counsel time sheets to ensure compliance with
                billing protocol;
             c. Direct and approve all filings;


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             d. Direct and coordinate with other members of the Discovery Committee to develop
                appropriate electronic discovery protocols and necessary protective orders, and
                coordinate and fund the necessary and appropriate costs of discovery and other
                common benefit efforts, including the maintenance of a discovery depository that
                will prevent duplicative discovery and ensure access to necessary parties;
             e. Meet and confer with defense counsel to identify threshold issues and the
                scheduling of specific issue determination, coordinate with other members of the
                Briefing Committee to identify and brief overarching issues affecting the MDL,
                assist DLC with briefing of defendant-specific issues ;
             f. Oversee and coordinate all dispute resolution efforts, including implementation of
                a settlement agreement template and assessment of the availability and utility of a
                common mediator, and approve and authorize all defendant-specific settlements
                to ensure fairness and consistency across negotiations;
             g. Consult with and employ consultants, special masters, and experts, as necessary;
             h. Coordinate with State Liaison Counsel;
             i. Meet and confer with DLC to address defendant-specific issues and
                developments, including the creation and distribution of defendant-specific fact
                sheets to be used amongst plaintiffs’ counsel, and facilitate the appointment of
                DLC under the Court’s supervision and approval;
             j. Maintain a common litigation fund and issue assessments;
             k. Allocate fees and expenses as appropriate; and
             l. Determine the necessary participation of HLC in state or federal trial proceedings.

     II.        Briefing Committee: HLC plus 1 firm

       The Briefing Committee should be responsible for identifying and briefing overarching

issues such as Article III standing, jurisdiction, arbitrability, sovereign immunity, duty of care, and

privity. HLC will work with defense counsel to identify a limited amount of threshold issues to be

briefed simultaneously, staggered in a manner to facilitate settlement. The Briefing Committee

will also work with the DLC to address defendant-specific issues.

    III.        Discovery Committee: HLC plus 2 firms

       Discovery Committee should be responsible to:

             a. Develop, implement, and ensure compliance with an appropriate electronic
                discovery protocol and necessary protective orders;
             b. Coordinate and fund the necessary and appropriate costs of discovery;
             c. Draft common discovery;
             d. Staff and oversee depositions;




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            e. Establish and maintain a plaintiffs’ document depository that will prevent
               duplicative discovery and ensure that relevant discovery is appropriately shared
               among parties;
            f. Initiate and conduct discovery consistent with the requirements of the Federal
               Rules of Civil Procedure, applicable local rules, and any subsequent orders of this
               Court; and
            g. Meet and confer with DLC to draft and circulate defendant-specific fact sheets
               during the pendency of common discovery, as well as discuss the utility of plaintiff
               factsheets.

    IV.        State Liaison

       The appointment of State Liaison will facilitate the coordination between the federal and

state court actions, of which there are at present approximately a dozen. State Liason should:

            a. work with HLC toward a harmonious cadence of state and federal litigations;
            b. provide and update contact information for all the judges implicated;
            c. report to HLC and the Court all material developments in the state court
               proceedings to ensure the efficient coordination of the litigation; and
            d. serve as a general point of contact for the Court and Magistrate Judge and Special
               Masters, if any, regarding all litigation in state courts.

     V.        Defendant-Specific Lead Counsel

       DLC should work with HLC to identify and address defendant-specific issues and

developments, conduct defendant-specific litigation and defendant-specific discovery with the

assistance of HLC, where necessary, report to HLC regarding defendant-specific developments,

coordinate settlement efforts with HLC and present all potential settlement terms to HLC for

approval. HLC will mee meet and confer with all counsel seeking to be appointed as DLC and

present such individuals to the Court for approval within one week of appointment of HLC.


                                                     Respectfully submitted,

Dated: December 15, 2023                             /s/ Tina Wolfson
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                                  Counsel to Plaintiff Christopher Pipes




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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 15, 2023, a true and correct copy of the

above and foregoing was filed with the Clerk of Court via the Court’s CM/ECF system for

electronic service on all counsel of record.

                                                           /s/ Tina Wolfson
                                                           Tina Wolfson




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